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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,

                        Plaintiffs,
           v.
                                                         Case No. KL-cv-NOP-ABJ
 RUSSELL VOUGHT, in his official capacity
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


                            JOINT MOTION TO MOVE HEARING

       The Defendants have produced thousands of pages of documents in a matter of days. The

volume of responsive documents meant that discovery production took longer than anticipated.

The compressed timeframe to retrieve, review, and produce documents also created technical

challenges. In order to allow Plaintiffs adequate time to review the large volume of materials

produced to them, and both sides adequate time to prepare for the evidentiary hearing, the parties

jointly request that the Court continue the hearing from Monday, April KO to Tuesday, April KX or

Wednesday, April NZ.1

       If the Court grants this request, the parties also request that the Court allow them to docket

any additional exhibits they intend to introduce or utilize during the testimony of the witnesses no

later than K] hours before the hearing.



       1
          The parties are still ascertaining witness availability for a modified hearing date, but have
determined that Mr. Paoletta is available on April KX or NZ, and the witness plaintiffs will call from
a member of the RIF team is available on April KX or potentially April NZ. Defendants are still
checking on the availability of Mr. Martinez and Mr. Kliger and will update the Court as soon as
they have information. However, in light of the time sensitivity of the parties’ request, they are
filing their motion now.


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Dated: April 26, 2025                           Respectfully submitted,

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